






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-00524-CV






Maria Hernandez, Appellant



v.



Harvey Ashton Wilson, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 53RD JUDICIAL DISTRICT


NO. D-1-GN-07-001772, HONORABLE MARGARET A. COOPER, JUDGE PRESIDING 






M E M O R A N D U M   O P I N I O N




	In October 2007, this Court granted relator Maria Maya Hernandez's motion
for&nbsp;emergency relief to halt an eviction.  The motion for temporary relief was filed ancillary to
Hernandez's petition for writ of mandamus, or, alternatively writ of injunction.  This court granted
relief in order to protect our jurisdiction over the subject matter of the mandamus and the underlying
appeal.  See In re Maria Maya Hernandez, slip op., No. 03-07-00620-CV (Tex. App.--Austin
October 30, 2007).

	The parties have now filed a joint agreed motion to dismiss the appeal based on a
settlement agreement.  See Tex. R. App. P. 42.1(a).  Accordingly, we grant the motion and dismiss
the appeal. (1)  Id.

					                                                                                    

					W. Kenneth Law, Chief Justice

Before Chief Justice Law, Justices Pemberton and Waldrop


Dismissed on Agreed Motion


Filed:   June 5, 2008
1.        Although it has no practical effect because the parties' settlement agreement calls for a June&nbsp;30,
2008, move-out date, the dismissal of the petition for writ of mandamus and the underlying appeal
results in the dissolution of the stay because we no longer have a case over which we have
jurisdiction to protect.  See Tex. Gov't Code Ann. § 22.221(a) (West 2004).


